           Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 1 of 8




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 2
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 6    Brian A. Laird, ISB no. 8879
          Attorney for Plaintiff
 7                      IN THE UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF IDAHO
 9    Platform Architecture & Design, PLLC,        CASE NO.
10                      Plaintiff,
11    v.
12    James L. Escobar, Marla Carson, Neudesign
                                                                   COMPLAINT
13    Architecture, LLC, Tyler Roberts, Holley
      Dryden, Infinity & Roberts, LLC, Does 1-5,
14    and ABC Companies 1-5,

15                      Defendants.                HON.
16            For its complaint against defendants James L. Escobar, Marla Carson, Neudesign

17   Architecture, LLC, Tyler Roberts, Holley Dryden, and Infinity & Roberts, LLC, plaintiff

18   Platform Architecture & Design, PLLC alleges:

19                                            PARTIES

20   1.       Plaintiff Platform Architecture & Design, PLLC (“PAD”) is an active Idaho

21   professional limited liability company, with its place of business in Boise, Idaho, with

22   licensed architect Catherine M. Sewell (“Sewell”) as its sole employee, principal, manager,

23   and owner of all membership interest.

24   2.       Defendant Neudesign Architecture, LLC (“Neudesign”) is an active Idaho Limited

25   liability company, with its place of business in Meridian, Idaho.

26   3.       Defendant James L. Escobar is the principal and sole member of Neudesign.
          Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 2 of 8




 1   4.       Escobar is a licensed architect residing in Meridian, Idaho, a member of the
 2   American Institute of Architecture, a NCARB certified, LEED accredited professional.
 3   5.       Defendant Marla Carson is a licensed architect, employed by Neudesign in
 4   Meridian, Idaho at the time of the events giving rise to this civil action.
 5   6.       Defendant Tyler Roberts is a licensed real estate agent residing in or near Boise,
 6   Idaho.
 7   7.       Defendant Holley Dryden is an individual residing in or around Boise, Idaho.
 8   8.       Infinity & Roberts, LLC is an Idaho limited liability company.
 9   9.       Defendants Does 1-5 and ABC companies 1-5 are individuals and entities whose
10   identities and/or actions are unknown but who are liable to plaintiff due to their participation
11   in events giving rise to this action.
12                                  JURISDICTION AND VENUE
13   10.      This is an action for copyright infringement in violation of Title 17, United States
14   Code, 17 U.S.C. §101, et seq.
15   11.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1331.
16   12.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2); the events giving rise to action
17   occurred in this judicial district.
18                                              FACTS
19   13.      In 2016, Sewell drafted original plan drawings (“the Plan Drawings”) for a proposed
20   multi-family residential development to be located at 6230 W. State Street, real property
21   then-owned by PAD’s client (the “Property”).
22   14.      The Plan Drawings are copyrighted visual material, registration no. VAu001379620.
23   15.      PAD is the owner of all copyrights in the Plan Drawings.
24   16.      PAD’s copyrights include the exclusive right to prepare derivative works based on
25   the Plan Drawings.
26   17.      PAD submitted the Plan Drawings to the City of Boise (“City”) Planning &


                                                   -2-
        Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 3 of 8




 1   Development Services Department as part of a request for a conditional use permit obtained
 2   for a client.
 3   18.    The Plan Drawings were original creative works subject to copyright protection
 4   under 17 U.S.C. § 102 (a)(5) & (8).
 5   19.    True and complete copies of the Plan Drawings are attached hereto as Exhibit-A.
 6   20.    PAD’s submissions to the City were designated PUD16-00020 and CVA16-00040
 7   in the City’s records.
 8   21.    Sewell performed substantial work for PAD to obtain initial approval of the planned
 9   unit development applications.
10   22.    The Plan Drawings were critical to approval of the applications.
11   23.    In the absence of the Plan Drawings the applications could not have been approved.
12   24.    It is PAD’s policy that it performs all architectural services and other work for clients
13   pursuant to its Standard Terms and Conditions unless otherwise agreed in writing.
14   25.    The Plan Drawings were created by PAD for its client pursuant to its Standard Terms
15   and Conditions.
16   26.    A true and correct copy of PAD’s Standard Terms and Conditions is attached as
17   Exhibit-E.
18   27.    PAD’s Standard Terms and Conditions include the following:
19                1.7 Ownership of Designs and Documents. All designs and drawings, specifications,
                  reports, calculations and other documents, including those in electronic form, have
20                been prepared by Architect for use solely with respect to Architect’s service on the
                  Project. Architect shall be deemed the author and owner of all such designs and
21                documents and shall retain all common law and statutory rights thereto, including
22                copyrights. Any reuse of the Architect’s design or documents without the prior written
                  authorization or adaptation by Architect is prohibited and will be at Client’s sole risk.
23                Client shall indemnify, defend and hold Architect harmless from all claims, damages,
                  losses and expenses arising out of or resulting from the unauthorized reuse of such
24                designs or documents. At Client’s request and provided that all amounts currently
                  due to Architect under this Agreement have been paid, Architect will provide Client
25                (or any consultant or contractor of Client) with a copy of the documents or designs
                  prepared under this Agreement on electronic media. Architect may require the
26                execution of an appropriate license agreement prior to the release of the electronic
                  media.


                                                       -3-
        Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 4 of 8




 1   28.    After approval of the applications was obtained from the City, PAD’s client decided
 2   to sell the Property rather than proceeding with the development.
 3   29.    Although PAD’s client chose to sell the Property, PAD retained ownership of all
 4   copyrights to the Plan Drawings.
 5   30.    PAD did not expressly or impliedly grant its client a non-exclusive license to the
 6   Plan Drawings.
 7   31.    PAD did not expressly or impliedly grant its client a transferable license to the Plan
 8   Drawings.
 9   32.    PAD and its client understood that the Plan Drawings were PAD’s copyrighted
10   materials and could not be transferred or used by anyone other than PAD’s client in the
11   absence of PAD’s express written agreement.
12   33.    In or around October/November 2016, Idaho real estate agent Tyler Roberts
13   (“Roberts”) contacted Sewell, stated that he was a real estate agent looking into the Property
14   for a purchaser, and asked for information about the planned project, including specific
15   questions regarding the possibility of increasing parking and trash enclosures.
16   34.    In response to requests from Roberts, Sewell provided copies of the Plan Drawings
17   and other documents to Roberts.
18   35.    On January 31, 2017, Sewell sent an email to Roberts stating as follows:
19               Hi Tyler
                 With the new year, we are looking at our projects and what we already have in the
20               pipeline for the year, I wanted to touch base with you regarding where you might be in
                 terms of the 6230 W. State Street project. As you know, I sent you some land use,
21               planning, zoning and entitlement plans in October/November 2016. I have not heard
                 from you since December 9th of last year.
22
                 When we last corresponded, you had some specific questions on how we might
23
                 increase the amount of parking and trash enclosure location options; since that time,
24               the project has not progressed, and I am unclear whether you/Homes of Idaho will be
                 moving forward with the project. That being the case, I wanted to remind you that
25               the entitlement plans I shared with you cannot be used further for this project
                 without my or Platform Architecture Design’s authorization. I always try to
26               reinforce this point with all clients who have retained my firm for entitlement



                                                    -4-
        Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 5 of 8




 1              work only and I would appreciate it if you would pass this along to those folks at
                your company who may have access to the plans.
 2
                Thank you and please feel free to contact me if you would like to discuss this matter
 3              further.
 4              Catherine Sewell AIA, LEED AP
 5   (Emphasis added.)
 6   36.    A true and complete copy of Sewell’s email to Roberts is attached hereto as
 7   Exhibit-B.
 8   37.    On February 9, 2017, Sewell forwarded a copy of the email in Exhibit-B to PAD’s
 9   client, and stated:
10              Thought I would check back in on the sale of State Street. I have not heard anything
                from Tyler. Below is what I sent him in regard to our documents/design. I have not
11              contacted him directly as he may be going in a different direction all together with the
                project to where it may not be an issue. Any information you can provide would be
12              helpful.
13   38.    Sewell’s email to PAD’s client included Sewell’s email to Roberts verbatim,
14   including the admonition that “I wanted to remind you that the entitlement plans I shared with
15   you cannot be used further for this project without my or Platform Architecture Design’s
16   authorization. I always try to reinforce this point with all clients who have retained my firm for
17   entitlement work only and I would appreciate it if you would pass this along to those folks at your
18   company who may have access to the plans.”
19   39.    A true and complete copy of Sewell’s February 9, 2017 email to PAD’s client is
20   attached as Exhibit-D.
21   40.    The Property was sold by PAD’s client on or about February 15, 2017,
22   approximately two weeks after PAD’s email to Roberts.
23   41.    The grantee by warranty deed upon sale of the Property was Holley Dryden; the deed
24   was recorded in the records of the Ada County Recorder on February 15, 2017.
25   42.    On information and belief, Dryden is the spouse or other close personal associate of
26   Roberts and was a straw buyer.


                                                    -5-
        Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 6 of 8




 1   43.    After the purchase, Dryden and Roberts worked in coordination with Escobar,
 2   Carson, and Neudesign to proceed with the development plans.
 3   44.    All of the work performed by Carson described herein was performed in the course
 4   and scope of her employment by Neudesign.
 5   45.    All of the work performed by Escobar described herein was performed in the course
 6   and scope of his employment by Neudesign, and/or in his capacity as principal and sole
 7   member of Neudesign.
 8   46.    The work involved submissions to the City, including a request submitted on August
 9   27, 2018, seeking a two-year extension of the PUD16-00020 application approval obtained
10   by Sewell using the Plan Drawings.
11   47.    A true and complete copy of Roberts and Dryden’s email application to the City for
12   the extension is attached hereto as Exhibit-C.
13   48.    The work also involved Escobar and Carson creating and submitting architectural
14   drawings based on PAD’s Plan Drawings.
15   49.    Neudesign’s drawings were willful copies of PAD’s Plan Drawings, with only minor
16   revisions.
17   50.    The willful infringement was for purposes of making use of the City’s approval of
18   applications PUD16-00020 and CVA16-00040 without incurring the expense of
19   commencing new plans or paying PAD for a license to use its copyrighted work.
20   51.    PAD’s Plan Drawings were the foundation/platform for the Neudesign plan
21   submissions, and Neudesign’s plan submissions were derived from PAD’s Plan Drawings.
22   52.    Attached as Exhibit-F is a true and correct copy of the plans submitted by Neudesign.
23   53.    The plans submitted by Neudesign were prepared by Carson at the direction of
24   Escobar and Roberts.
25   54.    Carson deliberately derived the plans submitted by Neudesign from PAD’s Plan
26   Drawings, at the direction of Escobar and Roberts.


                                                 -6-
        Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 7 of 8




 1   55.    In a telephone conversation with Sewell, Escobar admitted to Sewell that Plan
 2   Drawings had actually been used by Neudesign as the basis for its plans.
 3   56.    Pursuant to their professional licensure, Escobar and Carson knew or were charged
 4   with knowledge of their duties not to infringe on PAD’s Plan Drawings.
 5   57.    The AIA Code of Ethics, Rule 2.101 and commentary read as follows:
 6          Rule 2.101. Members shall not, in the conduct of their professional practice, knowingly
            violate the law.
 7
            Commentary: The violation of any law, local or federal, occurring in the conduct of a
 8          member’s professional practice, is made the basis for discipline by this rule. This includes
 9          the federal Copyright Act, which prohibits copying architectural works without permission
            of the copyright owner.
10   58.    On information and belief, Escobar and Carson actually knew of the professional
11   duty stated above.
12   59.    Despite knowing or being charged with knowledge of Rule 2.101 and its
13   commentary, Escobar and Carson did not contact Sewell prior to or after using the Plan
14   Drawings as the basis for their drawings.
15   60.    On October 22, 2018, Dryden executed a deed granting ownership of the Property
16   to Infinity & Roberts, LLC, an Idaho limited liability company.
17   61.    Tyler Roberts is one of the two members of Infinity & Roberts, LLC.
18   62.    On October 24, 2018, two days after its transfer to Infinity & Roberts, LLC, the
19   Property was listed for sale by Tyler Roberts.
20   63.    Tyler Roberts marketed the Property online using the Neudesign plans based on
21   PAD’s Plan Drawings, including the following statement touting the value of plan approval
22   by the City:
23
            “Rare opportunity to purchase a Boise City approved preliminary plat for a 44 unit
24          apartment complex on 1.85 acres. Fantastic location on high visibility street directly across
            from Plantation Golf Course, close to the Boise River and Whitewater Park, and easy
25          access to downtown. Project is currently in Design Review and awaiting final approvals.
            New owner could be building in a matter of months.”
26
     64.    On January 15, 2019, after less than three months on the market, Infinity & Roberts,


                                                    -7-
        Case 1:20-cv-00012-BLW Document 1 Filed 01/07/20 Page 8 of 8




 1   LLC sold the Property to a new purchaser.
                                        Claim for Relief
 2
                      Copyright Infringement – 17 U.S.C. §§ 101, et seq.
 3   65.       Plaintiffs incorporate the foregoing paragraphs by reference as if fully set forth
 4   herein.
 5   66.       PAD is the sole owner of all copyrights in an original work, the Plan Drawings.
 6   67.       As described above, the defendants willfully infringed on PAD’s copyrighted work.
 7   68.       The defendants’ infringements were direct, contributory, and/or vicarious.
 8   69.       Plaintiffs are entitled to actual damages and all of the defendants’ income/profits
 9   attributable to the infringement.
10   70.       Plaintiffs are entitled to an order permanently enjoining any further use of the
11   copyrighted materials and/or materials derived therefrom.
12             WHEREFORE, plaintiffs request relief in the form of judgment against the
13   defendants, and each of them, as follows:
14                a) Actual damages including all of defendants’ profits/income related to the
15                    plans submitted by Neudesign, pursuant to 17 U.S.C. § 504(a);
16                b) An order permanently enjoining defendants, their affiliates, assigns and/or
17                    successors in interest from any further use of PAD’s Plan Drawings and/or
18                    use of any plans based on the Plan Drawings, pursuant to 17 U.S.C. § 502;
19                    and
20                c) Such other relief as the Court deems equitable under the circumstances.
21
               DATED this 7th day of January, 2020.
22
               LAIRD LAW PLLC
23             /s/ Brian A. Laird
24             Brian A. Laird
               Attorney for Plaintiffs
25
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